Case 1:18-cv-06369-RPK-PK Document 56 Filed 06/21/19 Page 1 of 3 PageID #: 1827




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA,

                            Plaintiff,
                    v.
                                                                 Case No. 18-cv-6369
  UBS SECURITIES LLC, UBS AG,
  MORTGAGE ASSET SECURITIZATION
  TRANSACTIONS, INC., and UBS REAL
  ESTATE SECURITIES, INC.,

                            Defendants.


                             NOTICE OF DEFENDANTS’
                         MOTION TO DISMISS THE COMPLAINT

               PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law

 in Support of Defendants’ Motion to Dismiss the Complaint, the supporting declarations, exhibits,

 and appendices attached thereto, and all prior proceedings herein, Defendants UBS

 Securities LLC, UBS AG, Mortgage Asset Securitization Transactions, Inc., and UBS Real Estate

 Securities, Inc., by and through their undersigned counsel, respectfully move this Court for an

 Order dismissing the complaint with prejudice pursuant to Federal Rules of Civil

 Procedure 12(b)(2) and 12(b)(6).
Case 1:18-cv-06369-RPK-PK Document 56 Filed 06/21/19 Page 2 of 3 PageID #: 1828
Case 1:18-cv-06369-RPK-PK Document 56 Filed 06/21/19 Page 3 of 3 PageID #: 1829
